 

 

Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 1 of 22

all four children from NRFEM (Martin’s house) and forced the four
children, LF, KF, EF, & RF, out of reunification with plaintiff, and into
seclusion at a Tracy, California endangering the children in a stranger foster
home over 65 miles away from Martin’s house, shortly before the
reunification due date. (Any person who makes a report of child abuse or
neglect known to be false or with reckless disregard of the truth or falsify of
the report is liable for any damages caused, without immunity, Penal Code §
11172(a); &... to base on insufficient evidence to remove children, Evidence
§388).
FEDERAL DEFENDANT ROSEN IS NOT ENTITLED TO ABSOLUTE

JUDICIAL IMMUNITY

125; In Mirales v. Waco 502 U.S. 9 (1991), the U.S. Supreme Court

stated “...our cases make clear that the immunity is overcome in only two
sets of circumstances. First, a judge is not immune from liability for
nonjudicial actions, i.e., actions not taken in the judge’s judicial capacity.
Forrester v. White, 484 U.S., at 227-229; Stump v. Sparkman, 435 U.S., at
360 [502 U.S. 9, 12] Second, a judge is not immune for actions ..taken
complete absence of all jurisdiction. Id., at 356-357; Bradley v. Fisher, 13

Wall at 351.”

 
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Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 2 of 22

126. Rosen rejected every motion Plaintiff's attorney Vincent Davis
submitted, refused the children’s testimony, agreed with everything and
anything Hawkinson said, and denied Plaintiff to say anything in court on
[her](Plaintiff’s) side of the story (...Anyone (doctors, and all) who
intentionally and or negligently cause injury to someone, then they are liable
for compensatory damages and... punitive damages, California Civil Code
§1714; & ... to base on insufficient evidence to remove children, Evidence
§388; & ...shall any State deprive any person of life, liberty, or property,
without due process of law, The Fourteenth Amendment of The U.S.
Constitution).

CONCLUSION

127. To not burden the Court by submitting 100 pages of attachments,
Plaintiff will supply all that and more in Discovery. Plaintiff has been
deprived of a normal family life with the plaintiff's children since November
27, 2018 due to one psychiatrist and supporting DFCS-CPS worker’s
malpractice. Plaintiff has been deprived of any proper and appropriate
representation in Court processes and had been ongoingly extorted and
threatened by DFCS-CPS workers and networks. Plaintiff and her four

children have been suffering from CPS abuse; plaintiffs family’s life torn

 
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Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 3 of 22

apart, destroyed, and plaintiff prays this Court will put an end to this
nightmare.
COUNT ONE
VIOLATION OF 42 U.S.C. §1983
(Federal Defendants: County of Santa Clara, County of San Francisco, Brian
Hawkinson, Amy Yim, Mayra Alvarez, and Amber Rosen.)

128. Plaintiff repeats and asserts paragraph “14” through “127” as though
fully set forth herein.

129. As aresult of Defendants’ acts, Plaintiff now suffers and will continue
to suffer injury and monetary damages, and that Plaintiff is entitled to
damages sustained to date and continuing in excess of the amount of TWO
HUNDRED MILLION US DOLLARS ($200,000,000) as well as punitive
damages, costs, and attorney’s fees.

COUNT TWO
VIOLATION OF FOURTEENTH AMENDMENT
(Federal Defendants: County of Santa Clara, County of San Francisco, Anna|
Patrowsky, Brian Hawkinson, Arthur Gee-Yee Tan, Amy Yim, Mayra
Alvarez, and Amber Rosen)
130. Plaintiff repeats and asserts paragraph “14” through “127” as though

fully set forth herein.

 
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Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 4 of 22

131. As a result of the Defendants’ acts Plaintiff now suffers and will
continue to suffer injury and monetary damages, and that Plaintiff is entitled
to damages sustained to date and continuing in excess of the amount of
TWO HUNDRED FIFTY MILLION US DOLLARS ($250,000,000) as well
as punitive damages, costs, and attorney fees.

COUNT THREE
VIOLATION OF 18 U.S.C. 1961, et seg.
(Federal Defendants: County of Santa Clara, County of San Francisco, Anna
Patrowsky, Brian Hawkinson, Arthur Gee-Yee Tan, Amy Yim, Mayra
Alvarez, and Amber Rosen)

132. Plaintiff repeats and asserts paragraph “14” through “127” as though
fully set forth herein.

133. As aresult of the Defendants’ acts Plaintiff now suffers and will
continue to suffer injury and monetary damages, and that Plaintiff is entitled
to damages sustained to date and continuing in excess of the amount of
TWO HUNDRED FIFTY MILLION US DOLLARS ($250,000,000) as well
as punitive damages, costs, and attorney fees.

WHEREFORE, a judgement is respectfully demanded:

 
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Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 5 of 22

. Awarding against the individually named Federal defendant such

. Awarding against the individually named Federal defendant such

. Awarding reasonable attorney fees and costs;

. Returning Plaintiff's four children, LF, KF, EF, & RF, as soon as
. Granting such other and further relief as the Court deems just and
JURY TRIAL IS DEMANDED

Plaintiff demands a trial by jury on all claims so triable.

Dated this 5th of January, 2020, in San Francisco, California.

 

 

compensatory damages as the jury may impose, but not less than SIX

HUNDRED AND FIFTY MILLION DOLLARS ($650,000,000);

punitive damages as the jury may determine, but not less than such
punitive damages as the jury may impose, but not less than SIX

HUNDRED AND FIFTY MILLION DOLLARS ($650,000,000);

possible; and

proper.

For Plaintiff:

| Od ye tn tse 2 LSn20

Karena Apple Feng

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Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 6 of 22

_ Exhibit “A”
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 7 of 22
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SAN JOSE POLICE DEPT

LAW ENFORCEMENT/CRIMINAL JUSTICE AGENCIES HARDCOPY
DO NOT DUPLICATE***OFFICIAL USE ONLY***

GO# SJ 2018-183300822 INFO-1 INFORMATION ONLY

 

 

 

 

 

Cellular: (415) 336-9515
Particulars

Occupation: CLERK

Employer: TECO

Driver's license: 45113190 California
Ethnicity: OTHER ASIAN

Language(s) spoken: English

Height: 5°03 Weight: 120 Ibs.

Eye color: BROWN Lens type: Glasses
Hair color: BLACK

4. Other # 6 - SHIANG, MARTIN

(Case Specific Information)

Sex: MALE
Race: OTHER ASIAN
Date of birth: Aug-26-1953
Address: 2086 18TH AV
Municipality: SAN FRANCISCO , California 94116
Phone Numbers
Home: (415) 566-6677
Cellular: (415) 566-6677

———Particulars

 

- Occupation: RETIRED
Employer: BIOTECH
Driver's license: B3630600 California
Ethnicity: OTHER ASIAN
Language(s) spoken: English
Height: 5'06 Weight: 172 lbs.
Eye color: BROWN Lens type: Glasses
Hair color: BLACK

5. JUV-Other #2 - FENG, LILLIAN

(Case Specific Information)
Sex: FEMALE
Race: OTHER ASIAN
Date of birth: Mar-02-2005
Address: 380 VISTA ROMA WY Apartment: 211 .
Municipality: SAN JOSE , California 95136
District: DX Beat: Grid: 262
Particulars -
Ethnicity: OTHER ASIAN
Language(s) spoken: English

48 2018-183300822 Page of
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 8 of 22

 

SAN JOSE POLICE DEPT

LAW ENFORCEMENT/CRIMINAL JUSTICE AGENCIES HARDCOPY
DO NOT DUPLICATE***OFFICIAL USE ONLY***

GO# SJ 2018-183300822 INFO-1 INFORMATION ONLY

 

 

 

 

 

Eye color: BROWN
Hair color: BLACK

6. JUV-Other # 3 - FENG, KATIE

(Case Specific Information)
Sex: FEMALE
Race: OTHER ASIAN
Date of birth: Nov-16-2006

Address: 380 VISTA ROMA WY Apartment: 211
Municipality: SAN JOSE , California 95136
District: DX Beat: Grid: 262

Particulars

Ethnicity: OTHER ASIAN
Language(s) spoken: English
Eye color: BROWN

Hair color: BLACK

7. JUV-Other # 4 - FENG, MAX

(Case Specific Information)
Sex: MALE
Race: OTHER ASIAN
Date of birth: Jan-01-2013
Address: 380 VISTA ROMA WY Apartment: 211
Municipality: SAN JOSE, California 95136
District: DX Beat: Grid: 262
Particulars
Ethnicity: OTHER ASIAN
Language(s) spoken: English ~
Eye color: BROWN
Hair color: BLACK.

Related Vehicle(s)

1. Other # 1 - 7ZEME711, CA

(Case Specific Information)

License number: 7EME7IL

State of issue: California

Vehicle type: AUTOMOBILE
Make and model: Subaru Outback
Style: 4DR AUTOMOBILE

Year: 2013

49 2018-183300822 Page of
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 9 of 22

Exhibit “B”
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 10 of 22

 

Randolph D. Badler, [k.D.
CLINICAL PSYCHOLOGIST (Psy. #14038) 1902 WEBSTER STREET, SUITE 1
SAN FRANCISCO, CA 94115
TELEPHONE: (415) S67-2292
January 20, 2019
Re:
Karena Apple Feng

BD: 12/23/1975

|
1

To Whom It May Concern:

[ met with Ms. Feng on January 17, 2019. I conducted a Mental Status Exam. | also
spoke with three references whom have known this person for a substantial amount
of time. My conclusion corresponds to the Discharge papers after her temporary
psychiatric hold on November 28, 2018, that there is no evidence of any acute or
significant psychological disorder or symptoms that would interfere with Ms. Feng’s
ability to take care of her children. Nor it seems that any such problem has ever
been documented. If I may say, it may be that a grave injustice, her children having
been taken from her temporarily, may have been perpetrated because of one
person’s anonymous report that might have been sent in due to other motivations.

Please contact me if you have any further questions.
Sincerely,
WY J, Lh

rbadierphd @icloud.com
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 11 of 22

Exhibit “C”
 

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PSYCHIATRIST DISCHARGE SUMMARY - V 2

 

 
   
 

Resident: Feng, Karena (1157-
002569)

1. Medical findings
none acute

2, Allergies

Effective Date: 11/28/2018 15:52

GENERAL MEDICAL FINDINGS

 

No Known Allergies

 

 

 

D. PSYCHOLOGICAL TESTING

4. © NONE
2, Describe, if any
none

E. LABS

i. Labs
no new labs

2, PPD
none

1. Diagnosis

G, DISCHARGE MEDICATIONS

4. Discharge medications
none

none
H. DISPOSITION

1, Disposition

Signed By

Syed Munir, MD [e-SIGNED]

 

F. DISCHARGE DIAGNOSIS BY PHYSICIAN

unspecified mentatdisorder
, Siew

2. Long acting medication and next due date

will be discharged home . patients gaurdian will take the patient home .Address 383 Vista Roma Way Apt #212
San Jose gaurdian David Chee tel # 408 66068883

2. Out-patient care (psych, med, other)
will be arranged by the family.

 

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Signed Date

11/28/2018

 

 

Page 2 of 2
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Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 13 of 22
| ‘ PSYCHIATRIST DISCHARGE SUMMARY - V 2

 

Resident: Feng, Karena (1157- Effective Date: 11/28/2018 15:52
002569)

 

Cc. GENERAL MEDICAL FINDINGS
1. Medical findings
none acute ;

2. Allergies
No Known Allergies

 

 

 

 

D. PSYCHOLOGICAL TESTING
. 1. FI NONE
2, Describe, if any

none

E. LABS

1. Labs . | 203 _.

no new labs

2.PPD
fe
none .

F. DISCHARGE DIAGNOSIS BY PHYSICIAN

1. Diagnosis Zo
unspecified mental disorder aeo
Fen | Wet
G. DISCHARGE MEDICATIONS Haw Enso S Vest
1. Discharge medications . ee ) =
none Verrtio (\S TANNER uy:

2. Long acting medication and next due date
none

H. DISPOSITION

1. Disposition
will be discharged home . patients gaurdian will take the patient home Address 383 Vista Roma Way Apt # 212
San Jose gaurdian David Chee tel # 408 66068883

2. Out-patient care (psych, med, other)

will be arranged by the family. -

Signed By Signed Date

Syed Munir, MD [e-SIGNED] 11/28/2018

 

 

 

Page 2 of 2
Case 3:19-cv-06877-LB_ Document 44-2 Filed 01/06/20 Page 14 of 22

 

 

PSYCHIATRIST DISCHARGE SUMMARY - V 2

 

Resident Feng, Karena (1157- Effective Date: 11/28/2018 15:52
002560)

 

 

 

CG. GENERAL MEDICAL FINDINGS
1. Medical findings
none acute
2. Allergies
No Known Allergies

 

 

 

 

D. PSYCHOLOGICAL TESTING
1. ET NONE
2. Describe, if any

‘none

E. LABS 4 of 3
1. Labs

no new labs
2.PPD ;
none

F. DISCHARGE DIAGNOSIS BY PHYSICIAN

1. Diagnosis —————

G. DISCHARGE MEDICATIONS _ ? lawhe ie

1, Discharge medications

- OMBINAL COPY.
2. Long acting medication and next due date Elo ak / Re . a a a No - ¢)

none

H. DISPOSITION

4. Disposition /
will be discharged home . patients gaurdian will take the patient home .Address 383 Vista Roma Way Apt # 212
San Jose gaurdian David Chee tel # 408 66068883

2. Out-patient care (psych, med, other) .
will be arranged by the family.

Signed By Signed Date

Syed Munir, MD [e-SIGNED] 11/28/2018

 

Page 2 of 2

 
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 15 of 22

Exhibit “D”
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 16 of 22

Court of Appeals for the State of California - First Appellate District

 

 

Court Address: Case / Docket No. JD19-3090, JD19-3091
400 McAllister Street, Room 402 JD19-3092, JD19-3093
San Francisco, California 94116 Division: Juvenile Division

San Francisco Human Services Agency, DHS, | Judge: Rochelle East
Amy Yim and Santa Clara County Social
Services Agency/ DFCS, Brian Hawkinson
Plaintiffs / Petitioners

v.
Karena Apple Feng, LF, KF, MF, and RF
Defendants / Respondents

 

 

Courtroom: 406

[ABOVE FOR COURT USE ONLY]

 

 

 

Affidavit of Martin Shiang

State of California

SS

County of San Francisco

I, Martin Shiang, hereby make the following sworn statement upon my belief and personal
knowledge that the following matters, facts, and things set forth are true and correct to the best of

my knowledge:
1. My name is Martin Shiang, and I currently reside at 2086 18th Avenue, San Francisco,
California 94116 in CA County.
2. [am over the age of 18.
3. Sarah Gregg, MSW, sent by Brian Hawkinson, came to my house, and we (me, and Lee

Thomas) said that Karena Feng was framed. We know Karena Feng for over ten years and
do not believe in any way that Karena Feng is, have been, or ever have any mental issues
as alleged by CPS. We are 100% confident that Karena Feng is COMPLETELY

NORMAL. CPS instructed that we have to say that Karena Feng has mental issues in

order to be allowed in participation in the placement of her children. That is, the CPS
workers forced us to say that Karena Feng was mental in order to be allowed to take care
of her children. We explained to Brian Hawkinson that we feel that someone without

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Karena Feng's knowledge tried to call her "psychosis", “mental issues” and have

1 of 2
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 17 of 22

"hallucinations"; were having malicious intentions of framing her. Brian Hawkinson
despised our comments and continued illegally diagnosing Karena Feng. We saw the
tainted evidence provided by Brian Hawkinson in the court petition.

4. We affirm that Karena Feng have NO mental issues; and we truly believe Karena Feng has
been framed, with the intention to remove her children maliciously. Brian Hawkinson

keeps saying Karena Feng imagines knowing Paul Pelosi, Jr. however, Karena brought
Pelosi to my home, and we've all shook hands.

I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.

Ve Date: Dec. S 20/7
(Affiant's signature)

2 of 2
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 18 of 22

~ Exhibit “E”
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Pea DT :
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Mr. Diep you need to
contact me IMMEDIATELY
this is you opportunity

to tell me the children

are well. | am telling you
that you need to bring the
children back to 2086 18th
Ave NOW. IF YOU DO NOT
YOU MSY BE SUBJECT
TO ARREST. | am trying
to help you and this is
your chance to do the
right thing. This is Officer

Ramirez
Aug 23, 2019 10:27 PM Received

REPLY DELETE

https://mail.google.com/mail/u/O/#inbox?projector=1
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 20 of 22

Exhibit “F”
Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 21 of 22

 

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Su} Wow UOSJed & pue ‘pney ety payoder Jeg Ajunoo cosues4 ues ui Ayedoid sey pajpuyas oum ejdoed jo dno
uM ejndsip Ayedoid & 6y YUM PaLEys eses SyD ain payiodan joy .Sunphue ydeooe jupip (Sao pue vq) AouL,,
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Case 3:19-cv-06877-LB Document 44-2 Filed 01/06/20 Page 22 of 22

Karena A. Feng
1995-34" Avenue

San Francisco, CA 94116
(650) 350-9088

afengRE@gmail.com
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
KARENA A FENG, Case No.: CV-19-06877
Plaintiff,

DECLARATION IN SUPPORT OF

ee AMENDED COMPLAINT

COUNTY OF SANTA CLARA, ET AL,

Defendant

 

 

 

I, KARENA A. FENG, declare under the penalty of perjury under the laws of the

United States of America as follows:

1. My name is Karena Apple Feng, I am over the age of eighteen, am of sound

mind, and am capable of making this declaration. The facts stated herein is of

my personal knowledge and are true and correct.

2. I declare under the penalty of perjury that the foregoing Motion is true and

correct on this 5", day of January 2020.
Dated: January 5, 2020

San Francisco, California

ARMRELY [Kad

Karena A. Feng C \

DECLARATION IN SUPPORT OF AMENDED COMPLAINT - 1

 
